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 1                                                                                     Honorable Barbara J. Rothstein
 2

 3

 4

 5

 6

 7
                                  UNITED STATES DISTRICT COURT
 8                          WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 9   WADE K. MARLER, DDS, individually and on
10   behalf of all others similarly situated,
                                                                        No. 2:20-cv-00616-BJR
11                                                 Plaintiff,
                                                                        PLAINTIFFS’ STATEMENT IN
12            v.                                                        RESPONSE TO FIRST SCHEDULING
                                                                        ORDER
13   ASPEN AMERICAN INSURANCE
     COMPANY,                                                           FILED IN CONNECTION WITH
14                                                                      NOVEMBER 9, 2020 CASE
                                                Defendant.              MANAGEMENT CONFERENCE
15

16
                                       I.        PRELIMINARY STATEMENT
17
              Plaintiffs1 are small Washington businesses that own and operate dental and medical
18
     practices, restaurants, hotels, gyms, coffee shops, and other local enterprises. Defendants are
19

20   national insurance companies that sold policies to Plaintiffs. Every year, Plaintiffs paid

21   premiums to the Defendant Insurers to protect them from the catastrophic economic

22   consequences they would suffer if they were unable to fully engage in their business. With the
23

24
     1
25     Plaintiffs joining this filing are all plaintiffs subject to this Court’s Order, except Vancouver Clinic Inc. P.S.
       (“Vancouver Clinic”) and Aspen Lodging Group LLC (“Aspen Lodging”). Vancouver Clinic and Aspen Lodging
26     each assert claims against Affiliated FM Insurance Company and will be submitting their own response to the
       Court’s First Scheduling Order. Counsel for Strelow and Tabarie reviewed and approved a draft of this filing, but
       due to other scheduled commitments, were not able to re-confirm their joinder as of the time of filing.
     PLS.’ STATEMENT IN RESP.                                                              KELLER ROHRBACK L.L.P.
                                                                                                1201 Third Avenue, Suite 3200
     TO FIRST SCHEDULING ORDER                                                                     Seattle, W A 98101-3052
     (2:20-cv-00616-BJR) - 1                                                                   T ELEPHONE: (206) 623-1900
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 1   arrival of the COVID-19 pandemic in Washington and throughout the United States in early
 2   2020, and the State of Washington and other states’ formal responses to that public health threat,
 3
     Plaintiffs have found themselves with limited access and severe restrictions to their businesses.
 4
     Plaintiffs have suffered tremendous losses as a result.
 5
              Plaintiffs purchased commercial all-risk first-party property and casualty policies (the
 6

 7   “Policies”) from Defendants (the “Insurers”) that cover their business interruption losses. With

 8   minor variation, these Policies cover “direct physical loss of or damage to Covered Property” as

 9   well as “Business Income” losses and “Extra Expense” due to suspension of the Plaintiffs’
10   businesses, including losses and expenses caused by governmental orders restricting access to
11
     and use of their physical buildings and other insured property. Each Plaintiff has experienced
12
     covered losses stemming from the COVID-19 pandemic, and each Plaintiff has sought coverage
13
     from the Insurers under the Policies for their losses. The Insurers have denied or made clear they
14

15   will deny the Plaintiffs’ claims, forcing these already-struggling Plaintiffs to file these lawsuits to

16   obtain the coverage to which they are entitled.

17            All of the actions are in early procedural stages. A few of the parties have engaged in
18
     early discovery exchanges. The Liberty Mutual Defendants have filed answers. Four dispositive
19
     motions have been filed, three of which are fully briefed.2 As of this filing, certain of the
20
     Plaintiffs intend to amend their complaints.3
21

22
     2
       The three motions which are fully briefed are in Germack v. Dentist Insurance Co., No. 2:20-cv-00661-BJR (W.D.
23     Wash.) (Defendant’s Motion for Summary Judgement), Vita Coffee, LLC v. Fireman’s Fund Insurance Co., No.
       2:20-cv-01079-BJR (W.D. Wash.) (Defendant’s Rule 12 motion), and ES Restaurant Group, Inc. v. Fireman’s
24     Fund Insurance Co., No. 2:20-cv-01193-BJR (W.D. Wash.) (Defendant’s Rule 12 motion).
     3
       As of this filing, the following Plaintiffs presently seek to amend their complaints: Marler, Mikkelson, Aylen,
25     Jagow (each filing against Aspen American Insurance Company); Chorak, Prato, Kim, Lee, Glow Medispa, KCJ
       Studios, Humble Warrior, ALELG LLC, Seattle Symphony Orchestra, J Bells (each filing against a Hartford
26     insurer-defendant); Hong, McCulloch, Noskenda (each filing against a CNA insurer-defendant); Cascadia Dental,
       Pacific Endodontics, Rowshan (each filing against a Liberty Mutual insurer-defendant); and La Cocina Oaxaca
       (filing against Tri-State).
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 1                                   II.      PRODCEDURAL BACKGROUND
 2             On September 29, 2020, this Court issued its First Scheduling Order (the “Order”),
 3   identifying the thirty-four cases in this District it addressed as of that date. Dkt. # 23 at pp. 3-4.
 4
     The Court asked the parties to address six questions, set forth in Section III, below. See also
 5
     Order at p. 2. The Court’s October 21 Minute Order set the first case management conference for
 6
     these actions on November 9, 2020. Dkt. # 31.4
 7

 8             Defendants in the actions currently before the Court fall into ten groups by Insurer

 9   family:

10                    Hartford family of insurers5 (11 cases);
11
                      Aspen American Insurance Company (“Aspen”) (5 cases);
12
                      CNA family of insurers6 (4 cases);
13
                      Fireman’s Fund Insurance Company (“Fireman’s Fund” or “FFIC”) (3 cases);
14

15                    Liberty Mutual family of insurers7 (3 cases);

16

17

18   4
       Prior to the Court’s issuance of its First Scheduling Order, on September 29, 2020, Keller Rohrback filed a motion
       to consolidate on behalf of its clients who filed putative class claims in 26 of the actions before this Court. Dkt. #
19     20. Keller Rohrback seeks to consolidate the actions into one, or alternatively, eight groupings by insurer family.
       Id. at pp. 8-9. By Order dated October 15, 2020, the Travelers family of insurers stipulated, and this Court agreed,
20     to consolidate the 6 separate Travelers actions under one caption. Corrected Stipulated Motion & Order, Bath v.
       Travelers Cas. Ins. Co. of Am., No. 3:20-cv-05489-BJR (W.D. Wash. Oct. 15, 2020), Dkt. # 42. Plaintiffs filed a
21     consolidated amended complaint against the Travelers defendants on October 16, 2020. Consolidated Amended
       Class Action Complaint, Nguyen v. Travelers Cas. Ins. Co. of Am., No. 2:20-cv-00597-BJR (W.D. Wash. Oct. 16,
22     2020), Dkt. # 35. The Insurers who remain subject to the consolidation motion opposed it on October 15 and 23,
       2020. Keller Rohrback filed its reply in the Germack action on October 29, and will file a consolidated reply in
23     response to the other defendants on November 6, 2020.
     5
       The defendant-insurers The Hartford Casualty Insurance Company, Sentinel Insurance Company, Ltd., and
24     Hartford Fire Insurance Company are owned by the same parent corporation, The Hartford Financial Services
       Group, Inc. (“Hartford”).
     6
25     The defendant-insurers Valley Forge Insurance Company, Valley Forge Company, and Transportation Insurance
       Company are all owned by CNA Financial Corporation (“CNA”).
     7
26     The defendant-insurers The Ohio Casualty Insurance Company, The Ohio Security Insurance Company, and
       American Fire and Casualty Company share the same holding company, Liberty Mutual Holding Company Inc.
       (“Liberty Mutual”).
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 1                   Travelers family of insurers8 (1 consolidated action (6 Plaintiffs));
 2                   Affiliated FM Insurance Company (“Affiliated FM”) (2 cases);
 3
                     Massachusetts Bay Insurance Company (“Mass Bay”) (1 case);
 4
                     Tri-State Insurance Company of Minnesota (“Tri-State”) (1 case); and
 5

 6                   The Dentists Insurance Company (“TDIC”) (1 case).

 7           On October 14, 2020, all Plaintiffs’ counsel and Defendants’ counsel subject to the

 8   Court’s Order as of that date met and conferred telephonically.9 Plaintiffs presented their initial
 9   joint proposal for case management in response to the Court’s Order. Plaintiffs’ initial proposal
10
     focused on common legal issues and approaches to streamlining briefing on those issues.
11
     Plaintiffs also expressed their view that discovery should proceed, and provided Defendants with
12
     a list of topics on which they would seek discovery.
13

14           Each Insurer Defendant group presented its separate proposal in response to the Court’s

15   Order, and the parties engaged in some limited follow-up discussion. After the October 14

16   conference, Plaintiffs sent Defendants a list of the discovery topics Plaintiffs seek, and certain of
17
     the Plaintiffs and certain of the Defendants continued to discuss a variety of case management
18
     approaches.
19
             Plaintiffs have also continued to confer on their side. As a result of this meet and confer
20
     process, Plaintiffs submit the following proposal, jointly where indicated, and with some
21

22   additional proposals set out below for certain unique issues.

23
     8
       The defendant-insurers Travelers Casualty Insurance Company of America, The Charter Oak Fire Insurance
24     Company, and Travelers Indemnity Company of America are owned by the same parent corporation, The
       Travelers Companies, Inc. (“Travelers”).
     9
25     Counsel in the action Worthy Hotels Inc. v. Fireman’s Fund Insurance Co., No. 2:20-cv-01515-BJR (W.D. Wash.)
       participated in the October 14 conference. Plaintiffs’ counsel in SCRBKR2017, LLC v. Sentinel Insurance Co., No.
26     2:20-cv-01537-BJR (W.D. Wash.) and Seattle Bakery LLC v. Sentinel Insurance Co., No. 2:20-cv-01540-BJR
       (W.D. Wash.), did not participate in the October 14 conference because their actions were not yet before this
       Court.
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 1            III.     PLAINTIFFS’ JOINT RESPONSE TO THE COURT’S QUESTIONS
 2            Plaintiffs believe the cases fall into three tracks, which should be litigated
 3   simultaneously:
 4
              1) the “COVID-19/Closure Track” (“Track One”) (26 cases);10
 5
              2) the “Fireman’s Fund Track” (“Track Two”) (3 cases); and
 6
              3) the “Affiliated FM Track” (2 cases).11
 7

 8            1.       What are the common issues in all the cases?

 9            Tracks One and Two have the following common issue: Application of the “direct

10   physical loss of or damage to property” (or minor variations thereof) policy language to the
11   common allegations in the complaints of total or partial closure due to COIVD-19 and/or
12
     governmental orders resulting from the COVID-19 pandemic.
13
              Determining insurance coverage is a two-step process. First, the insured must show that
14
     the loss falls within the scope of the policy’s insured losses. Second, to avoid coverage the
15

16   insurer must show that specific policy language excludes the loss. Churchill v. Factory Mut. Ins.

17   Co., 234 F. Supp. 2d 1182, 1186 (W.D. Wash. 2002) (citing McDonald v. State Farm Fire &

18   Cas. Co., 119 Wn.2d 724, 731, 837 P.2d 1000 (1992)). This logical sequence guides the common
19
     legal and factual issues that follow below.
20
              The common legal issue in Tracks One and Two is coverage. Both tracks require
21
     resolution of whether the Policies’ language stating that a “direct physical loss of or damage to
22
     property”12 is a covered loss that applies to the facts of the pandemic, including the closure
23

24   10
        The “COVID-19/Closure Track,” or “Track One,” would include all of the Keller Rohrback class cases (20 cases),
25      all individual cases filed against Aspen (1 case), and all individual cases filed against either Sentinel Insurance
        Company, Ltd. or Hartford Fire Insurance Company (5 cases).
     11
26       See supra note 1. Plaintiffs in the proposed “Affiliated FM Track” are submitting a separate filing. The Affiliated
        FM Track is not discussed further in this submission.
     12
        There are some minor variations in this language, as set forth on the attached Exhibit A.
     PLS.’ STATEMENT IN RESP.                                                            KELLER ROHRBACK L.L.P.
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 1   orders and/or the probable, assumed, or likely (whether known or unknown) presence of the
 2   virus at or near Plaintiffs’ businesses.
 3
             This issue should be briefed as follows:
 4
             a) Track One – Plaintiffs in the class cases have filed a motion for consolidation. Dkt. #
 5
     20. Plaintiffs respectfully request that the Court rule on this motion. In addition, Defendant TDIC
 6

 7   has filed a motion for summary judgment.13 Plaintiffs suggest that after the Court rules on the

 8   motion to consolidate, and after Plaintiffs file any amended complaints, see supra note 3, two

 9   additional sets of briefing be allowed in this track to address the coverage issue.
10           The first additional set of briefing would be a Rule 12 motion filed by the Hartford family
11
     against the Hartford Plaintiffs, with page limits governed by this Court’s Standing Order. The
12
     Hartford class plaintiffs and Hartford individual plaintiffs would cooperate in responding jointly
13
     to such a motion.
14

15           The second additional set of briefing would be filed jointly by the remaining six

16   defendants in Track One: Aspen, CNA, Liberty Mutual, Mass Bay, Travelers, and Tri-State, with

17   proposed page limits, subject to the Court’s agreement, up to double those provided in this
18
     Court’s Standing Order. Thereafter, Plaintiffs respectfully request that these three dispositive
19
     motions be jointly set for oral argument and be adjudicated by the Court.
20
             b) Track Two – The Fireman’s Fund cases involve two different Fireman’s policy forms,
21
     including one in which Fireman’s intentionally removed the policy’s disease exclusion. The
22

23   other policy form provides Communicable Disease coverage and includes only a “death and

24   mortality” exclusion rather than a “virus” exclusion. Defendant has filed, and briefing is
25

26
     13
       Defendant’s Motion for Summary Judgment, Germack v. Dentist Ins. Co., No. 2:20-cv-00661-BJR (W.D. Wash.
       Sept. 18, 2020), Dkt. # 35.
     PLS.’ STATEMENT IN RESP.                                                 KELLER ROHRBACK L.L.P.
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 1   complete, on two Rule 12 motions against Plaintiffs Vita Coffee and ES Restaurants. Plaintiff
 2   Worthy Hotels seeks an opportunity to submit its own briefing addressing the legal issues raised
 3
     by Defendant Fireman’s Fund. Plaintiffs respectfully request that following Worthy Hotel’s
 4
     briefing, these matters be jointly set for oral argument and adjudicated by the Court.
 5
              2.       Are all issues present in all cases?
 6
              Not all issues are present in all cases, but there are core issues present in multiple cases
 7

 8   that can be litigated efficiently in groupings, as discussed below.

 9            Common Legal Issues in the Track One and Two cases:

10                 i) Regulatory estoppel. This issue requires discovery prior to briefing. The issue is
11
                       whether the doctrine of regulatory estoppel prevents the Insurer Defendants who
12
                       seek to assert a virus or microbe exclusion from applying such an exclusion
13
                       here.14 This issue requires discovery from the Insurer Defendants who intend to
14
                       assert such a defense, from the third-party Insurance Services Office, who acted
15

16                     as the Insurer Defendants’ agent, and from the applicable state Insurance

17                     Commissioner Offices. This issue likely applies to the Defendant Insurers Aspen,
18                     CNA, Liberty Mutual, Mass Bay, Travelers, some of the Fireman’s Fund policy
19
                       forms, and TDIC, and is present in thirteen cases.
20

21

22
     14
        As one court recently explained, “Insurers began to add the Virus Exclusion and similar terms to contacts in 2006,
23     after the severe acute respiratory syndrome (“SARS”) outbreak. . . . A 2006 Insurance Services Office circular (the
       ‘ISO circular’) explained that insurers were ‘presenting an exclusion relating to contamination by disease-causing
24     viruses or bacteria or other disease-causing micro-organisms.’” Turek Enters., Inc. v. State Farm Mut. Auto. Ins.
       Co., --- F. Supp. 3d ----, No. 20-11655, 2020 WL 5258484, at *3 (E.D. Mich. Sept. 3, 2020) (citations omitted). In
25     the ISO Circular, insurers misleadingly led regulators to believe both that the focus of the virus exclusion was its
       potential to contaminate consumable products, and that property policies have not been a source of “recovery for
26     losses involving contamination by disease-causing agents.” See id. at *9 (citation omitted). Based on these
       assurances, insurers gained regulatory approval based on the representation that the virus exclusion would not
       materially impact policyholders.
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 1                ii) Efficient proximate cause. This second issue also requires discovery prior to
 2                     briefing. The issue is whether the Closure Orders are the efficient proximate cause
 3
                       of the plaintiff’s loss, such that a “virus exclusion” (if any) does not bar coverage
 4
                       where the closure orders, and not the virus, are the predominant cause of the
 5
                       plaintiff’s loss.15 Plaintiffs suing defendants TDIC, Mass Bay, Fireman’s Fund,
 6

 7                     and the Liberty Mutual and Travelers families of insurers will likely require

 8                     resolution of this common legal issue. This legal issue applies to at least seven of

 9                     the cases in Tracks One and Two.
10                iii) Microbe exclusion. A third common legal issue for the nine plaintiffs pursuing
11
                       claims against Aspen and CNA, which is a mixed question of fact and law, is
12
                       whether the “microbe exclusion,” where microbe is defined to exclude “microbes
13
                       that were transmitted directly from person to person” applies to the COVID-19
14

15                     virus. If the “microbe exclusion” is found to apply to the COVID-19 virus, then a

16                     related legal issue is whether the closure orders were the efficient proximate cause

17                     of the plaintiff’s loss, such that a “microbe exclusion” does not apply here where
18
                       the closure orders, and not a “microbe,” are the predominant cause of the
19
                       plaintiff’s loss.
20
                  iv) Class certification. The class cases will each face additional common legal issues
21
                       under Federal Rule of Civil Procedure 23—including commonality and typicality
22

23                     of the named plaintiffs’ claims, adequacy of the named plaintiffs, and

24                     predominance of common legal and factual issues. The appropriate time for the
25
     15
26      Washington’s efficient proximate cause rule provides that an exclusion can apply only if the excluded cause of
       loss, and not some other intervening force, such as a governmental order, was the “predominant” cause of loss.
       See Xia v. Probuilders Specialty Ins. Co., 188 Wn.2d 171, 183, 400 P.3d 1234 (2017).
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 1                  Court to evaluate class certification issues will be after discovery on issues
 2                  impacting class certification (as discussed below), and following plaintiffs’
 3
                    motion(s) for class certification.
 4
            3.      Is it appropriate to model the Court’s management of the cases after
 5                  an MDL? That might include a steering committee, selection of lead
                    counsel, proceeding with selected representative cases.
 6
            Plaintiffs believe it is appropriate to model the Court’s management of these cases
 7

 8   through three means: 1) by organizing the cases into three tracks, as discussed above, 2) by

 9   consolidating similar or overlapping claims where applicable, and 3) by litigating threshold

10   common legal issues in a consolidated manner.
11
            To further maximize efficient litigation of the common and overlapping legal and factual
12
     issues, Plaintiffs suggest that the class actions be consolidated either as one action, or into eight
13
     actions, based on insurer-defendant families. These proposals are separately explained in
14
     Plaintiffs’ motion to consolidate. See Dkt. # 20.
15

16          Rather than proceeding with representative cases, Plaintiffs suggest proceeding with the

17   representative briefing on the central coverage question, in semi-consolidated briefing, as
18   described above.
19
            4.      Will there be a need for discovery? If so, is a common discovery plan a
20                  possibility?

21          Defendants should promptly produce certified copies of each Plaintiff’s policy, so that

22   the parties and Court are confident the correct policy language is being adjudicated.
23
            Discovery in Tracks One and Two should commence immediately on three issues. For
24
     those Defendants who intend to assert either a virus or microbe exclusion, discovery should
25
     proceed on 1) regulatory estoppel; and 2) discovery related to Washington’s efficient proximate
26
     cause rule, including the closure orders and the actual or presumed presence and proliferation of
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 1   COVID-19 in and around Plaintiffs’ businesses. Additionally, ES Restaurants believes it should
 2   be allowed to commence discovery immediately with regards to FFIC’s decision to remove the
 3
     disease exclusion from its policy and FFIC’s claims handling Discovery should also commence
 4
     immediately with respect to the class certification issues present in Track One.
 5
            Washington law holds that where policy terms are undefined, they must be interpreted
 6

 7   “as [they] would be understood by the average lay person.” Boeing Co. v. Aetna Cas. & Sur. Co.,

 8   113 Wn.2d 869, 876, 784 P.2d 507 (1990). Many of the policy terms at issue are undefined.

 9   Where an undefined policy term may be subject to multiple, reasonable definitions, extrinsic
10   evidence is admissible to interpret a term’s meaning. Holden v. Farmers Ins. Co. of Wash., 169
11
     Wn.2d 750, 756-57, 239 P.2d 344 (2010). Accordingly, discovery related to the meaning and
12
     interpretation of policy terms may be necessary after the Court rules on Defendants’ Rule 12
13
     motions.
14

15          Plaintiffs reserve the right to seek full discovery that includes:

16                 Complete claim file and underwriting manuals;

17                 Information regarding presence of COVID-19 on or near the premises;
18
                   Industry communications pertaining to COVID-19 coverage;
19
                   Documents sufficient to show the drafting history, interpretation, and
20
                    implementation of relevant policy terms and training of personnel related thereto;
21

22                 Defendants’ relevant record-keeping;

23                 Interpretative materials, both internal and external, relating to drafting history,
24                  interpretation, and implementation of relevant policy terms;
25
                   Communications with the Washington Office of the Insurance Commissioner or
26
                    other relevant state insurance authorities regarding the meaning, interpretation,
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 1                   and significance of relevant policy terms, including any “virus exclusion,”
 2                   “microbe exclusion,” “virus endorsement,” or “communicable disease” coverage;
 3
                    Communications to policy holders regarding the relevant policy terms;
 4
                    Relevant Closure Orders; and
 5
                    Number of COVID-19 and/or Closure Order claims reported to defendant, by
 6

 7                   state and industry, and defendant’s disposition thereof.

 8          In addition, the class cases will seek discovery that includes:
 9                  Documents sufficient to identify the states in which materially identical business
10
                     interruption policies have been issued during the known existence of the COVID-
11
                     19 global pandemic in the United States and documents sufficient to identify the
12
                     number of such insureds by state.
13

14          Plaintiffs recommend a common discovery plan to coordinate the cases through phased

15   document discovery and depositions and to optimize efficiencies for the Court and the parties.

16          Plaintiffs also propose that the Court set a coordinated case management schedule
17   providing the same deadlines for the cases so the parties can coordinate and maximize
18
     efficiencies during each phase of the litigation, e.g., coordinated briefing schedules, discovery,
19
     expert witnesses, and trials.
20
            5.       How should motions and motion briefing be scheduled and organized?
21

22          Plaintiffs propose that the Court first rule on the threshold coverage issues. To recap

23   these issues: whether policy language stating that a “direct physical loss of or damage to

24   property” provides coverage relative to the physical loss of property and/or damage to property
25
     caused by viruses or, alternatively, whether this language contains an unwritten “structural
26
     alteration” requirement as defendants suggest; whether this same language provides coverage
     PLS.’ STATEMENT IN RESP.                                            KELLER ROHRBACK L.L.P.
                                                                                1201 Third Avenue, Suite 3200
     TO FIRST SCHEDULING ORDER                                                     Seattle, W A 98101-3052
     (2:20-cv-00616-BJR) - 11                                                 TELEPHONE: (206) 623-1900
                                                                               FACSIMILE: (206) 623-3384
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 1   relative to Plaintiffs’ business suspensions arising from the pandemic, including the closure
 2   orders and/or the probable, assumed, or likely (whether known or unknown) presence of the
 3
     virus at or near Plaintiffs’ businesses; whether the Policies’ various civil authority coverages are
 4
     triggered by the closure orders prohibiting access to Plaintiffs’ insured premises or, alternatively,
 5
     contain additional, unwritten requirements as defendants suggest. The Court should seek to
 6

 7   coordinate oral argument (if any) and its rulings on these issues in at least Tracks One and Two.

 8   To the extent certain of the briefs raise additional issues, the Court may rule on these issues at its

 9   discretion.
10          Within Tracks One and Two, litigation on any application of a virus or microbe exclusion
11
     should not occur without discovery i) on the regulatory estoppel issue described above, and ii) as
12
     pertains to the application of Washington’s efficient proximate cause rule.
13
            6.      Any other questions or issues counsel believe are germane for discussion.
14

15          To promote efficiency and avoid duplication of effort or resources, the Defendants should

16   immediately identify to Plaintiffs and the Court all actions pending in state or federal courts with

17   overlapping class claims. As stated above, Defendants should also promptly produce certified
18
     copies of the Policies at issue.
19
                                           IV.     CONCLUSION
20
            Plaintiffs propose that the parties report back to the Court within 14 days on all issues
21
     that remain open after the case management conference. Plaintiffs request a further status
22

23   conference approximately 7-10 days thereafter.

24

25            DATED this 4th day of November, 2020.
26

     PLS.’ STATEMENT IN RESP.                                             KELLER ROHRBACK L.L.P.
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 1    StandardSig                            KELLER ROHRBACK L.L.P.
 2

 3                                           By: s/ Amy Williams-Derry
                                             By: s/ Lynn L. Sarko
 4                                           By: s/ Gretchen Freeman Cappio
 5                                           By: s/ Ian S. Birk
                                             By: s/ Irene M. Hecht
 6                                           By: s/ Karin B. Swope
                                             By: s/ Maureen Falecki
 7                                           By: s/ Nathan L. Nanfelt
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 8
                                                Lynn Lincoln Sarko, WSBA #16569
 9                                              Gretchen Freeman Cappio, WSBA #29576
                                                Ian S. Birk, WSBA #31431
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24

25

26   4818-1248-1745, v. 2



     PLS.’ STATEMENT IN RESP.                                  KELLER ROHRBACK L.L.P.
                                                                   1201 Third Avenue, Suite 3200
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                                           Business Income Loss Policy Language Comparison for Track One Cases
    Coverage Language for loss of property and loss of business income: Virtually identical language from 7 Insurer Defendant families (CNA,
    Hartford, Liberty Mutual, Massachusetts Bay, TDIC, Travelers, and Tri-State). Functionally equivalent language with Aspen.
    Suspension of Business Language: Virtually identical language from 7 Insurer Defendant families (CNA, Hartford, Liberty Mutual,
    Massachusetts Bay, TDIC, Travelers, and Tri-State). Functionally equivalent language with Aspen.
                                                                                                                                            If           Step Two:
                                                                                                                   Definition of
Group         Insurer Family              Policy Form          Plaintiffs     Step One: Is there Coverage?                              coverage,       Applicable
                                                                                                                   “Suspension”
                                                                                                                                          then          Exclusion?
1        CNA family                    CNA Connect        Noskenda            We will pay for direct physical   “’Suspension’”                      To be determined
                                       Policy –           McCulloch           loss of or damage to Covered      means: a. The
         Coverage language:            Businessowners     Hong v. TI          Property at the premises          partial or complete
         Same as Hartford, Liberty     Special Property   Hong v. VF          described in the Declarations     cessation of your        
         Mutual, TDIC, Mass Bay,       Coverage Form                          caused by or resulting from a     business activities;
         Travelers & Tri-State                                                Covered Cause of Loss.            or that a part of all
                                                                                                                of the described
         Functionally equivalent to                                           Covered Causes of Loss            premises is
         Aspen                                                                includes “RISKS OF DIRECT         rendered
                                                                              PHYSICAL LOSS.”                   untenantable.”
         Suspension language:
         Same as Hartford, Liberty                                            We will pay for the actual loss
         Mutual, TDIC, Mass Bay,                                              of Business Income you
         Travelers & Tri-State                                                sustain due to the necessary
                                                                              ‘suspension’ of your
         Functionally equivalent to                                           ‘operations’ during the
         Aspen                                                                ‘period of restoration.’ The
                                                                              ‘suspension’ must be caused
                                                                              by direct physical loss of or
                                                                              damage to property at the
                                                                              described premises. The loss
                                                                              or damage must be caused by
                                                                              or result from a Covered
                                                                              Cause of loss.


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                                                                                                                                       If           Step Two:
                                                                               Step One: Is there            Definition of
Group        Insurer Family       Policy Form           Plaintiffs                                                                 coverage,       Applicable
                                                                                  Coverage?                  “Suspension”
                                                                                                                                     then          Exclusion?
1       Hartford Casualty/     Spectrum           Chorak                 We will pay for direct          With respect to                       To be determined
        Sentinel               Business Policy    Prato                  physical loss of or physical    business income,
        (“Hartford”)           Special Property   KCJ Studios et al.     damage to Covered               extra expense, and
                               Coverage Form      Glow Medispa           Property at the premises        extended business          
                                                  Lee                    described in the                income coverages,
                               SS 00 07 07 05     Kim                    Declarations caused by or       “suspension means:
                                                                         resulting from a Covered        (a) The partial
                                                  Seattle Symphony       Cause of Loss.                  slowdown or
                                                  Strelow                                                complete cessation of
                                                  J Bells                Covered Causes of Loss          your business
                                                  SCRBKR2017 LLC         includes “RISKS OF DIRECT       activities; or (b) That
                                                  Seattle Bakery LLC     PHYSICAL LOSS.”                 part or all of the
                                                                                                         “scheduled premises”
                                                                         We will pay for the actual      is rendered
                                                                         loss of Business Income you     untentantable as a
                                                                         sustain due to the              result of a Covered
                                                                         necessary suspension of         Cause of Loss [.]”
                                                                         your ‘operations’ during the
                                                                         ‘period of restoration.’ The    [same as CNA,
                                                                         suspension must be caused       Hartford, Liberty
                                                                         by direct physical loss of or   Mutual, Mass Bay, &
                                                                         physical damage to              Travelers]
                                                                         property at the scheduled
                                                                         premises . . . caused by or
                                                                         resulting from a Covered
                                                                         Cause of Loss.




                                                                       EXHIBIT A




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                                                                                                                                       If           Step Two:
                                                                              Step One: Is there           Definition of
Group        Insurer Family       Policy Form         Plaintiffs                                                                   coverage,       Applicable
                                                                                 Coverage?                 “Suspension”
                                                                                                                                     then          Exclusion?
1       Liberty Mutual aka     Businessowners   Pacific Endodontics     We will pay for direct         With respect to                         To be determined
        Ohio Casualty          Coverage Form    Cascadia Dental         physical loss of or damage     business income,
                                                Rowshan                 to covered property at the     extended business
                               BP 00 03 0106                            premises . . . caused by or    income, and extra
                                                                        resulting from any Covered     expense coverages,
                                                                        Cause of Loss.                 “’suspension means:
                                                                                                       The partial slowdown         
                                                                        Covered Causes of Loss         or complete cessation
                                                                        includes “direct physical      of your business
                                                                        loss.”                         activities; or (b) That a
                                                                                                       part or all of the
                                                                        We will pay for the actual     described premises is
                                                                        loss of Business Income you    rendered
                                                                        sustain due to the             untenantable[.]”
                                                                        necessary suspension of
                                                                        your “operations” during
                                                                        the “period of restoration”.
                                                                        The suspension must be
                                                                        caused by direct physical
                                                                        loss of or damage to
                                                                        property at the described
                                                                        premises. The loss or
                                                                        damage must be caused by
                                                                        or result from a Covered
                                                                        Cause of Loss.



                                                                      EXHIBIT A




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                                                                                                                                  If         Step Two:
                                                                                                         Definition of
                                                                            Step One: Is there                                coverage,      Applicable
Group        Insurer Family         Policy Form        Plaintiffs                                        “Suspension”
                                                                               Coverage?                                        then         Exclusion?

1       The Dentists Insurance    Businessowners   Germack            We will pay for direct         Not defined.                         To be determined
        Company (“TDIC”)          Policy                              physical loss of or damage
                                                                      to Covered Property caused     But see IX. Property     
                                                                      by or resulting from a         Loss Conditions -G.
                                                                      “Covered Cause of Loss” at     Resumption of
                                                                      the premises.                  Operations – “We will
                                                                                                     reduce the amount of
                                                                      “Covered Cause of Loss”        your:
                                                                      means “All risk of direct
                                                                      physical loss[.]”               a) ‘Business Income’
                                                                                                     loss, other than Extra
                                                                      We will pay for the actual     Expense, to the extent
                                                                      loss of ‘Business Income’      you can resume your
                                                                      you sustain because of the     “Operations,” in
                                                                      necessary suspension of        whole or in part, by
                                                                      your “Operations” during       using damaged or
                                                                      the ‘Period of Restoration.’   undamaged property .
                                                                      The suspension must be         . . at the described
                                                                      caused by direct physical      premises; and b) Extra
                                                                      loss of or damage to           Expense loss to the
                                                                      property at the described      extent you can return
                                                                      premises . . . caused by or    “Operations” to
                                                                      resulting from a ‘Covered      normal and
                                                                      Cause of Loss.’                discontinue such Extra
                                                                                                     Expense.”



                                                                    EXHIBIT A




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                                                                                                                                        If           Step Two:
                                    Policy Form          Plaintiffs           Step One: Is there             Definition of
Group        Insurer Family                                                                                                         coverage,       Applicable
                                                                                 Coverage?                   “Suspension”
                                                                                                                                      then          Exclusion?
1       Massachusetts Bay        Businessowners     Caballero           We will pay for direct          “’Suspension’ means:                    To be determined
        Insurance Company        Insurance Policy                       physical loss of or damage      a. The partial
        (“Massachusetts Bay”)                                           to Covered Property at the      slowdown or
                                                                        premises described in the       complete cessation of
                                                                        Declarations caused by or       your business                
                                                                        resulting from any Covered      activities; or b. Part or
                                                                        Cause of Loss.                  all of the described
                                                                                                        premises is rendered
                                                                        “Covered Cause of Loss” –       untenantable [.]”
                                                                        “Risks of direct physical
                                                                        loss[.]”

                                                                        We will pay for the actual
                                                                        loss of Business Income you
                                                                        sustain due to the
                                                                        necessary “suspension” of
                                                                        your “operations” during
                                                                        the “period of restoration.”

                                                                        The “suspension” must be
                                                                        caused by direct physical
                                                                        loss of or damage to a
                                                                        described premises shown
                                                                        in the Declarations and for
                                                                        which a Business Income
                                                                        Limit of Insurance is shown
                                                                        in the Declarations. The loss
                                                                        or damage must be caused
                                                                        by or resulting from a
                                                                        Covered Cause of Loss.


                                                                      EXHIBIT A




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                                                                          Step One: Is there                                      If           Step Two:
                                  Policy Form                                                          Definition of
Group        Insurer Family                          Plaintiffs              Coverage?                                        coverage,       Applicable
                                                                                                       “Suspension”
                                                                                                                                then          Exclusion?
1       Travelers              Businessowners   Nguyen              We will pay for direct         “’Suspension’ means:                   To be determined
                               Property         Fox                 physical loss of or damage     a. The partial or
                               Coverage         Hsue                to Covered Property at the     complete cessation of      
                                                Bath                premises described in the      your business
                               MP T1 02 02 05   Kashner             Declarations caused by or      activities; or b. That a
                                                Stan’s Bar-B-Q      resulting from a Covered       part or all of the
                                                                    Cause of Loss.”                described premises is
                                                                                                   rendered
                                                                    Covered Cause of Loss –        untenantable.”
                                                                    ‘RISKS OF DIRECT PHYISCAL
                                                                    LOSS[.]”

                                                                    We will pay for the actual
                                                                    loss of Business Income you
                                                                    sustain due to the
                                                                    necessary “suspension” of
                                                                    your “operations” during
                                                                    the “period of restoration”.

                                                                    The “suspension” must be
                                                                    caused by direct physical
                                                                    loss of or damage to
                                                                    property at the described
                                                                    premises. The loss or
                                                                    damage must be caused by
                                                                    or result from a Covered
                                                                    Cause of Loss. . . .




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                                                                                                                                        If           Step Two:
                                                                                Step One: Is there           Definition of
Group       Insurer Family         Policy Form         Plaintiffs                                                                   coverage,       Applicable
                                                                                   Coverage?                 “Suspension”
                                                                                                                                      then          Exclusion?
1       Tri-State Insurance     Business Income   La Cocina de Oaxaca     We will pay for direct         “’Suspension’ means:                   To be determined.
        Company of Minnesota    (And Extra                                physical loss of or damage     a. The slowdown or
        (“Tri-State”)           Expense)                                  to Covered Property . .        cessation of your           
                                Coverage Form                             .caused by or resulting from   business activities; or
                                                                          any Covered Cause of Loss.”    b. That a part of or all
                                CP 00 30 10 12                                                           of the described
                                                                          “Covered Cause of Loss” –      premises is rendered
                                                                          means “direct physical loss    untentantable, if
                                                                          unless the loss is excluded    coverage for Business
                                                                          or limited[.]”                 Income . . .. applies.”

                                                                          We will pay for the actual
                                                                          loss of Business Income you
                                                                          sustain due to the
                                                                          necessary “suspension” of
                                                                          your “operations” during
                                                                          the “period of restoration.”

                                                                          The “suspension” must be
                                                                          caused by direct physical
                                                                          loss of or damage to
                                                                          property at premises which
                                                                          are described in the
                                                                          Declarations and for which
                                                                          a Business Income Limit Of
                                                                          Insurance is shown in the
                                                                          Declarations. The loss or
                                                                          damage must be caused by
                                                                          or result from a Covered
                                                                          Cause of Loss.


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                                                                                                                                If          Step Two:
                                                                          Step One: Is there          Definition of
Group         Insurer Family      Policy Form        Plaintiffs                                                             coverage,       Applicable
                                                                             Coverage?                “Suspension”
                                                                                                                              then          Exclusion?
1A      Aspen American          ASPDTPR001      Mikkelson           We will pay for all direct    Not defined.
        Insurance Company                       Marler              physical damage to covered                                          To be determined
        (“Aspen”)                               Aylen               property at the premises      But see definition of
                                                Jagow               described on the              “damage” which
                                                                    Declarations caused by or     means “partial or total    
                                                Tabarie             resulting from any covered    loss of or damage to
                                                                    cause of loss.                your covered
                                                                                                  property.”
                                                                    “Covered cause of loss”
                                                                    means ALL RISK OF DIRECT
                                                                    PHYSICAL LOSS.

                                                                    “Damage” means partial or
                                                                    total loss of or damage to
                                                                    your covered property.

                                                                    We will pay for the actual
                                                                    loss of practice income you
                                                                    sustain . . .due to the
                                                                    necessary suspension of
                                                                    your practice during the
                                                                    period of restoration. The
                                                                    suspension must be caused
                                                                    by direct physical damage
                                                                    to the building or blanket
                                                                    dental practice personal
                                                                    property . . caused by or
                                                                    resulting from a covered
                                                                    cause of loss[.]


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